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J. MITCHELL COBEAGA; ESQ.
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Attorneys for Defendant

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

SUSIE LEAHY, individually and SUSIE)
LEAHY AS GUARDIAN AD LITEM FOR )

REBECCA SUSAN LEAHY, a minor, )
HANNAH JOY LEAHY, a minor, and )
WILLIAM JOHN LEARY, III, a minor, ) CASE NO: 2:10-CV-00082 -GMN-PAL
)
Plaintiffs, )
) DEFENDANT LONE MOUNTAIN
VS. ) AVIATION, INC.’S OPPOSITION TO
, ) PLAINTIFFS’ MOTION IN LIMINE NO. 4
LONE MOUNTAIN AVIATION, INC.,a ) TO PRECLUDE ANY REFERENCE TO
corporation; and DOES 1 through 20, ) PLAINTIFF SUSIE LEAHY’S
inclusive, ) REMARRIAGE
)
Defendants )
)

 

COMES NOW, Defendant LONE MOUNTAIN AVIATION, INC., by and through its
counsel of record, J. MITCHELL COBEAGA, ESQ. of the law firm, THE COBEAGA LAW
FIRM, hereby submits its Opposition to Plaintiffs’ Motion in Limine No. 4 to Preclude Any
Reference to Plaintiff Susie Leahy’s Remarriage. In support of this Opposition, Defendant
submits the following:

MEMORANDUM OF POINTS AND AUTHORITIES

Defendant LONE MOUNTAIN brings the instant Opposition to Plaintiff's Motion,
pursuant to FRE 401-403, seeking a determination from the Court regarding the admissibility of
Plaintiff LEAH Y-HERR’s remarriage and name change where she is seeking to prove damages.
arising out of loss of support, companionship, etc. The substantive right to damages for this
wrongful death action arises statutorily under NRS 41.085(4), which states that decedent may be

awarded pecuniary damages for “grief or sorrow, loss of probable support, companionship,

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society, comfort and consortium...”
1.
LEGAL ARGUMENT
1 Compensatory damages are not meant to punish, so any perceived benefit to
Lone Mountain of Mrs. Leahy-Herr’s remarriage is irrelevant.

Defendant incorporates by reference the points and authorities found in support of its
Motion in Limine To Introduce Evidence of Plaintiff Leahy’s Remarriage (Document No. 71).

In her Motion to Preclude Evidence of Remarriage, Plaintiff argues that evidence of
remarriage should be precluded because “[i]t would ...permit a tortfeasor to profit by an actual

remarriage of the widow.” However, the Restatement (Second) of Torts plainly states:

In determining the measure of compensation, indemnity or
restitution, the law of torts ordinarily does not measure its
recovery as do the rules based upon unjust enrichment, on
the benefit received by the defendant. This first purpose of
tort law leads to compensatory damages.
Rest. (Second) of Torts §901, cmt a.
The Nevada Courts generally follow the Restatement (Second) of Torts. Gen. Motors
corp. v. Eighth Judicial Dist. Court of State of Nev. ex rel. County of Clark, 122 Nev. 466, 468,
134 P.3d 111, 113 (2006); Allison v. Merck & Co., Inc., 110 Nev. 762769-70, 878 P.2d 948, |
953-54 (1994); Wyeth v. Rowatt, 244 P.3d 765, 775-76 (Nev. 2010); Butler ex rel. Biller v.
Bayer, 123 Nev. 450, 454, 168 P.3d 1055, 1059 (2007); Nittinger v. Holman, 119 Nev. 192, 195,
69 P.3d 688, 690 (2003); Fink v. Oshins, 118 Nev. 428, 433, 49 P.3d 640, 644 (2002). It is
therefore appropriate to look to the Restatements for guidance when Plaintiff seeks to offer
evidence of her lack of support following the death of her spouse.
The Restatement plainly describes how compensatory damages for pecuniary harm are
calculated. A Court measures pecuniary damages “(a) before the tort, and (b) as they appear at
the time of trial.” Rest. (Second) of Trots § 906, cmt. a. It follows that evidence of Plaintiffs

support from a spouse at time of trial is relevant to the computation of damages.

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It is well established that “in tort law, the purpose of compensatory damages is to make
the plaintiff whole by putting him in the same position as if the tort had not occurred.” 59 U.
Kan. Law. Rev. 231. This basic principle of damages has been proclaimed by the Supreme
Court for well over a century. “As a general rule, the object of the law in awarding damages for
civil injury ... is to put the plaintiff in the same position ... as he would have been had there been
no injury...” Milwaukee & St. P_R. Co. V. Arms, 91 U.S. 489 (1875). See also Birdsall v.
Coolidge, 93 U.S. 64 (1876) “Compensatory damages and actual damages mean the same
thing.”); Conn. Railway and Lighting Co. v. Palmer, 59 S.Ct.316, 323 (1936) (“The damages
recovered by an injured party have always been limited to his ‘actual’ damages.”)

As regards Plaintiff's support from a spouse, Plaintiff is now in a similar position “as if
the tort had not occurred.” Accordingly, her actual damages as regards loss of support should be
limited to the time she remained unmarried. Otherwise, Plaintiff and her new husband would be
in a better position, rather than a similar position, than if the tort had not occurred.

IL. Defendant has accomplished sufficient discovery relating to Plaintiff's

remarriage through her deposition on January 19, 2012.

In her Motion to Preclude Evidence of Remarriage, Plaintiff states “No discovery has
been accomplished by Lone Mountain Aviation, Inc., relating to any of the background facts as
to Plaintiff's remarriage.” This statement overlooks the deposition of Mrs. Leahy-Herr on
January 19, 2012, in which she testified regarding the background facts of her new marriage and
change of employment status as follows:

A. At the time of the accident, I was employed with Veritas Christian Academy, but

I had just been employed, just started the job.

Q. And you left that job right after, you didn’t stay there; correct?

A. No, I stayed there for two years, to support myself and the kids once he died. I

had no means otherwise.

Q. Did you stop work - - would that be at or around the time you got remarried you

stopped working?

A. Correct.

(Deposition of Susan Leahy-Herr, P. 70 attached hereto as Exhibit A)

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Mrs. Leahy-Herr provided testimony regarding her remarriage multiple times throughout
the deposition. Accordingly, a material issue of fact exists as to actual damages for loss of
support. Lone Mountain should be allowed to pursue this line of questioning during cross

examination.

Ill. Evidence of Remarriage should be admitted to impeach misimpressions

created by the plaintiff.

Even if the jury were instructed that remarriage would not mitigate damages of loss of
support, evidence of remarriage should still be allowed to correct misimpressions created by the
Plaintiff. See Elmahdi v. Ethridge, 987 S.W.2d 366, 369 (Mo.App.1999) (“a defendant may
mention the fact of the plaintiff's remarriage, although not the details about the new spouse’s
income or services, if necessary in order to correct a misimpression created by the Plaintiff.”).
This is particularly true when, as here, the surviving spouse has changed her name as a result of
the remarriage and quit her job to become a full-time homemaker. Withholding evidence of a
remarriage from the jury “would not be consistent with the high standards of integrity which the
judicial process should maintain.” Glick v. Allstate Ins. Co., 435 W.2d 17 (Mo. Ct. App. 1968);
see also, Harbenski v. Upper Peninsula Power Co., 325 N.W.2d 785 (Mich. Ct. App. 1982);
Dubil v. Labate, 245 A.2d 177, 180 (N.J. 1968) (“[i]t would be offensive to the integrity of the
judicial process if the plaintiff, after taking an oath to be truthful, were permitted to misrepresent
her marital status to the jury”); and Smyer v. Gaines, 332 So. 2d 655 (Fla. App. 1976) (evidence
of remarriage allowed to show the whole truth). Even if such evidence were not permitted
during voir dire or opening statements, evidence of Mrs. Leahy-Herr’s subsequent remarriage
should be admitted to correct any affirmative misrepresentations by Plaintiff. If Mrs. Leahy-Herr
were to misrepresent her name, amount of children, or that she is a single mother struggling to
support her family, evidence of her remarriage should be admitted to prevent a fraud on the jury.
Allowing Mrs. Leahy-Herr to conceal evidence and use her former name would equate to
perjury. See, Watson v. Fishback, 301 N.E.2d 303 (ill. 1973).

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I.
CONCLUSION

This Court should follow the principles established by the Restatement (Second) of Torts
and the foregoing cases to allow the introduction of evidence of Mrs. Leahy-Herr’s remarriage to
Brian Herr. The integrity of the Court would be jeopardized by allowing the Plaintiff to offer
evidence of her pecuniary loss of support or that she is currently “unemployed” rather than a
married housewife. Furthermore, the jury should be introduced to all relevant evidence of
damages. If Plaintiff Susan Leahy-Herr is to be awarded damages for loss of support, society
and comfort, the jury should be able to make a determination as to what those damages were and
what future damages are likely to be, not what they could have potentially been.

DATED this 15™ day of March, 2013. °

THE COBEAGA LAW FIRM >

/s/ J, Mitchell Cobeaga
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. CERTIFICATE OF SERVICE
I hereby certify that on this 15" day of March, 2013, I caused to be served a true and
correct copy of the foregoing Defendants’ Opposition to Plaintiffs’ Motion in Limine No. 4 to
Preclude Any Reference To Plaintiff Susie Leahy’s Remarriage by electronic service (via Case
Management/Electronic Case Filing). Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system.

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/s/ Dawn Derosa
An Employee of The Cobeaga Law Firm
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